                         UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION




  In the Matter of:                              }
                                                 }
                                                 }
  JUST FOR YOU COACH, INC.                       }    Case No. 19-81116-CRJ-11
                                                 }
                                                 }    Chapter 11
                                                 }
                                                 }
                                  Debtor(s)      }
                                                 }

  ORDER REQUIRING BANK INDEPENDENT TO SHOW CAUSE WHY CREDITOR
      SHOULD NOT BE HELD IN CONTEMPT AND SANCTIONS IMPOSED

         Before the Court is the Emergency Motion filed by the Debtor under Sections 105 and 362
 of the United States Bankruptcy Code and Motion for Contempt (“”Emergency Motion”), pursuant
 to which the Debtor alleges that Bank Independent debited the debtor-in-possession’s bank
 account and placed a “hold” on property of the bankruptcy estate in violation of the automatic stay
 under 11 U.S.C. § 362(a).

 IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

    1. Counsel for Bank Independent must appear on Thursday, April 18, 2019 at 10:00 a.m.
       before the Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court, 400
       Well Street, Decatur, AL 35601 and show cause why Bank Independent should not be held
       in contempt for allegedly exercising control over property of the estate and for violating
       the automatic stay based upon on the allegations contained in the Emergency Motion.

    2. Counsel for the Debtor is directed to immediately serve a copy of this Order upon Bank
       Independent.


 Dated this the 16th day of April, 2019.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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